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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

       vs.                                              Case No.3:88-cr-215-J-12

 ANITA BRYANT FARQUHARSON

                                        ORDER


       This cause is before the Court on the Defendant’s pro se “Motion for Sentence

 Reduction Pursuant to 18 U.S.C. § 3582(c)(2) ... “ (Doc. 1803), filed March 3, 2008.

 U.S.S.G. § 1B1.10(b)(2)(C) states that “[i]n no event may the reduced term of imprisonment

 be less than the term of imprisonment the defendant has already served.” The United

 States Probation Office advises the Court that the Defendant was released from

 incarceration on October 12, 2007. Accordingly, a reduction in the Defendant’s term of

 imprisonment is not authorized under U.S.S.G. § 1B1.10 and the Court will deny her motion

 as moot. Accordingly, it is

       ORDERED AND ADJUDGED:

       That Defendant’s pro se “Motion for Sentence Reduction Pursuant to 18 U.S.C. §

 3582(c)(2) ... “ (Doc. 1803) is denied as moot.

       DONE AND ORDERED this               7th         day of March 2008.




 Copies to:   AUSA (Henry)         Defendant, pro se           U.S. Probation (Owens)
